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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


BRANDON BROOKS,            )
                           )
     Plaintiff,            )
                           )                   CIVIL ACTION NO.
     v.                    )                     2:19cv924-MHT
                           )                          (WO)
CORRECTIONS OFFICER JUSTIN )
MCCLAIN, et al.,           )
                           )
     Defendants.           )

                               JUDGMENT

    Pursuant     to    the     joint      stipulation     of    dismissal

(Doc. 70), it is the ORDER, JUDGMENT, and DECREE of the

court that all claims against defendant Murphy Davis

are dismissed with prejudice, and defendant Davis is

terminated as a party, with all parties to bear their

own costs as to the claims against said defendant.                       All

claims against all other defendants remain.

    The clerk of the court is DIRECTED to enter this

document   on   the    civil        docket    as   a   final      judgment

pursuant   to   Rule    58     of   the    Federal     Rules    of    Civil

Procedure.
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  This case is not closed.

  DONE, this the 24th day of August, 2022.

                                 /s/ Myron H. Thompson
                              UNITED STATES DISTRICT JUDGE
